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                                                                                                   11/06/2020




                                             THE CITY OF NEW YORK
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                                                                      November 4, 2020


        BY ECF

        Hon. Katharine H. Parker
        United States Magistrate Judge
        Southern District of New York
        500 Pearl Street
        New York, New York 10007

                       Re: J.L. et al. v. N.Y. City Dep’t of Educ., et al.
                           17 CV 7150 (WHP) (KHP)

        Dear Judge Parker,

                       I am an Assistant Corporation Counsel in the Office of the Corporation Counsel,
        attorney for the Defendants in the case referenced above. I write to respectfully request a short
        extension of the settlement conference currently scheduled Friday, November 6, 2020.

                        Defendants must request this adjournment because the medical professionals from
        the Office of School Health now have conflicts at the scheduled time. Due to increased demands
        connected to the Covid-19 pandemic, School Health doctors are presently rotating into the Covid
        Response Situation Room (a multi-agency effort to respond to cases of Covid-19 in the schools),
        and for this reason none are now available on Friday morning. Also, the Department’s principal
        liaison has a conflict at that time in connection with a family medical emergency that only
        recently came to light. Defendants thus respectfully request that the Court adjourn the
        conference to a latter date. I further respectfully request that the Court allow Defendants to
        suggest potential new dates to the Court that are convenient for the parties no later than Friday,
        November 6, 2020. Defendants have not yet identified dates that work for the necessary
        participants, but did not want to wait any longer to file this request (particularly in light of the
        provision in the Court’s Individual Practices in Civil Cases that provides such requests must be
        made 48 hours prior to the conference – in that regard, I apologize for the timing of this letter
        and any resulting inconvenience). Defendants also respectfully request a corresponding
        adjournment for the deadline to submit a preconference letter.
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 The settlement conference in this matter previously scheduled for
 Friday, November 6, 2020 at 10:00 a.m. is hereby rescheduled to
 Friday, November 20, 2020 at 10:00 a.m. Counsel is directed to call
 Judge Parker’s teleconference line at the scheduled time. Please dial
 (866) 434-5269, Access code: 4858267. The parties are instructed to
 complete the Settlement Conference Summary Report and prepare
 pre-conference submissions in accordance with Judge Parker’s
 Individual Rules of Practice. Pre-conference submissions must be
 received by the Court no later than November 13, 2020 by 5:00 p.m.




                                                             11/06/2020
